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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-CV-24100-COOKE/GOODMAN


  DIGNA VINAS,

                 Plaintiff/Counter Defendant,

  v.

  THE INDEPENDENT ORDER
  OF FORESTERS,

              Defendant/Counter Plaintiff.
  ___________________________________/

                  THE INDEPENDENT ORDER OF FORESTERS’ NOTICE
               OF FILING THE DECLARATION OF KRISTINA B. PETT, ESQ.

         Pursuant to this Court’s Paperless Order (Doc. 66), the Independent Order of Foresters

  files the attached Declaration of Kristina B. Pett, Esq.

  Dated: March 31, 2020                         MCDOWELL HETHERINGTON LLP
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                                                By: _s/Kristina B. Pett
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                                  CERTIFICATE OF SERVICE

         I certify that on March 31, 2020, I electronically filed the foregoing with the Clerk of the
  Court by using the CM/ECF system which will send a notice of electronic filing to the following:

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                                        s/Kristina B. Pett
                                        Kristina B. Pett




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